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                           United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

  UNITED STATES OF AMERICA                          §
                                                    §
                                                    §
  v.                                                § CASE NUMBER 4:20-CR-00065
                                                    §
  FIDEL RODRIGUEZ, JR. (1)                          §



        ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

        The Court referred this matter to the Honorable Christine A. Nowak, United States

 Magistrate Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal

 Procedure. The Honorable Christine A. Nowak conducted a hearing in the form and manner

 prescribed by Federal Rule of Criminal Procedure 11 and issued her Findings of Fact and

 Recommendation on Guilty Plea Before the United States Magistrate Judge. The Magistrate Judge

 recommended that the Court accept the Defendant’s guilty plea. She further recommended that

 the Court adjudge the Defendant guilty on Count One of the Indictment filed against the Defendant.
      .
        The parties have not objected to the Magistrate Judge’s findings. The Court ORDERS

 that the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate

 Judge are ADOPTED. The court accepts the Defendant’s plea conditioned upon a review of the

 presentence report. It is further ORDERED that, in accordance with the Defendant’s guilty plea

 and the Magistrate Judge’s findings, Defendant, FIDEL RODRIGUEZ, JR., is adjudged guilty

 as to Count One of the Indictment charging a violation of Title 21 U.S.C. § 846 - Conspiracy to

 Possess with Intent to Manufacture and Distribute Methamphetamine.

         So ORDERED and SIGNED this 25th day of September, 2020.




                                                           ____________________________________
                                                           SEAN D. JORDAN
                                                           UNITED STATES DISTRICT JUDGE
